   Case: 3:08-cr-00049-TMR Doc #: 117 Filed: 11/06/08 Page: 1 of 2 PAGEID #: 284


                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA,

               Plaintiff,                      :          Case No. 3:08-cr-049 (3)

                                                          District Judge Thomas M. Rose
       -vs-                                               Chief Magistrate Judge Michael R. Merz
                                               :
DANIEL SAIN,

               Defendant.


                             REPORT AND RECOMMENDATIONS


       This case came on for hearing on November 5, 2008. Having conducted the colloquy

required by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the Plea

Agreement of the parties and find that the Defendant’s plea of guilty pursuant to that Agreement is

knowing, intelligent, and voluntary. Anticipating the Court’s adoption of this Report, the Magistrate

Judge referred Defendant to the United States Probation Department for a presentence investigation

and confirmed to all parties that this case is set for sentencing before Judge Rose on February 6,

2009, at 2:00 p.m.

November 6, 2008.

                                                              s/ Michael R. Merz
                                                         Chief United States Magistrate Judge


                            NOTICE REGARDING OBJECTIONS

                Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written
objections to the proposed findings and recommendations within ten days after being served with
this Report and Recommendations. Pursuant to Fed. R. Civ. P. 6(e), this period is automatically
extended to thirteen days (excluding intervening Saturdays, Sundays, and legal holidays) because
this Report is being served by one of the methods of service listed in Fed. R. Civ. P. 5(b)(2)(B), (C),
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   Case: 3:08-cr-00049-TMR Doc #: 117 Filed: 11/06/08 Page: 2 of 2 PAGEID #: 285


or (D) and may be extended further by the Court on timely motion for an extension. Such objections
shall specify the portions of the Report objected to and shall be accompanied by a memorandum of
law in support of the objections. If the Report and Recommendations are based in whole or in part
upon matters occurring of record at an oral hearing, the objecting party shall promptly arrange for
the transcription of the record, or such portions of it as all parties may agree upon or the Magistrate
Judge deems sufficient, unless the assigned District Judge otherwise directs. A party may respond
to another party's objections within ten days after being served with a copy thereof. Failure to make
objections in accordance with this procedure may forfeit rights on appeal. See United States v.
Walters, 638 F. 2d 947 (6th Cir., 1981); Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed. 2d
435 (1985).




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